                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:12 cr 33-2


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )               ORDER
                                                   )
KENNETH ASHE,                                      )
                                                   )
                  Defendant.                       )
____________________________________               )


       THIS MATTER has come before the undersigned pursuant to a Motion to Extend Time

to File Objections to PSI (#72) filed by Rodney G. Hasty, counsel for Defendant. This motion

was joined with another motion in which Mr. Hasty requested permission to withdraw. The

motion to withdraw has been allowed by the undersigned and an Order has been entered to that

effect. The undersigned has further directed the Federal Defenders’ Office to appoint substitute

counsel to represent Defendant. As a result, the undersigned will leave it up to Defendant’s

new attorney to seek leave to file objections, if the attorney finds that objections to the

Presentence Report are appropriate.

                                           ORDER

       IT IS, THEREFORE, ORDERED that the Motion to Extend Time to File Objections to

PSI (#72) filed by counsel for Defendant is hereby DENIED without prejudice.



                                                            Signed: August 12, 2013




                                             1
      Case 2:12-cr-00033-MR-WCM          Document 79       Filed 08/12/13         Page 1 of 1
